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IN THE uNrTED sTATEs DISTRICT CoURT 50 B" -~ D-C-

FOR THE WESTERN DISTRICT OF TENNESSEE

   
  

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RoDNEY LoUrs HARPER, CLERH?;§"‘:_’ l'l'_!,l*i@§%l}m
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Plaintiff,
v. No. 04-2292 B

THE FRESH MARKET, INC,,

Defendant.

 

ORDER OF DISMISSAL WITH PREJUDICE

 

On July I, 2005, this Court entered its Second order directing the Plaintiff, Rodney Louis
Harper, to show cause Why this matter should not be dismissed pursuant to Rule 41 of the Federal
Rules of Civil Procedure for failure to prosecute In its July l order, the Court Set forth in detail the
continued failures of the Plaintiff to comply with orders of the Court and to make an effort to move
this case forward. The Court instructed Harper to respond to the show cause order within 15 days
of the entry thereof, admonishing him that "failure to respond in a timely manner will result in
dismissal of this action with prejudice.“ (Second Order to Show Cause Why Case Should Not Be
Dismissed for F ailure to Prosecute at 3.) According to the Court's docket, no filings have been made
by the Plaintiff since entry of the second show cause order.

Rule 4l(b) provides for dismissal of actions “[f]or failure of the plaintiff to prosecute or to
comply with [the Federal Rules of Civil Procedure] or any order of court . . ." Fed. R. Civ. P. 41(b).
A Rule 4l(b) dismissal “operates as an adjudication upon the merits.” LI. The authority to dismiss
a case under Rule 4 l (b) "is available to the district court as a tool to effect management of its docket

and avoidance of unnecessary burdens on the tax-supported courts and opposing parties.” Knoll v.

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with Flu|e 58 and/or 79(3) FFICP on ' c

  

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American Tel. & Tel. Co., 176 F.3d 359, 363 (6th Cir. 1999), reh’g Li suggestion@ reh’g en banc

 

denied (June 30, 1999) (citations and internal quotations omitted). The Supreme Court has
recognized that

[n]either the permissive language of the Rule -- which merely authorizes a motion by
the defendant -- nor its policy requires us to conclude that it was the purpose of the
Rule to abrogate the power of courts, acting on their own initiative, to clear their
calendars of cases that have remained dormant because of the inaction or dilatoriness
of the parties seeking relief. The authority of the court to dismiss sua sponte for lack
of prosecution has generally been considered an “inherent power,” governed not by
rule or statute but by the control necessarily vested in courts to manage their own
affairs so as to achieve the orderly and expeditious disposition of cases.

Link v. Wabash R.R. Co., 370 U.S. 626, 630-31, 82 S.Ct. 1386, 1388-89, 8 L.Ed.Zd 734 (1962).

 

District courts are permitted substantial discretion in determining whether dismissal is appropriate
§_np_ll, 176 F.3d at 363; Harmon v. CSX Transp.` lnc.. 110 F.3d 364, 366 (6th Cir. 1997), Lrt.
M, 522 U.S. 868, 118 S.Ct. 178, 139 L.Ed.2d 119 (1997).

The Sixth Circuit has articulated four factors to be addressed by the Court in assessing
whether dismissal for failure to prosecute is warranted: (1) whether the party’s failure was the result
of willfulness, bad faith, or fault; (2) whether the opposing party suffered prejudice due to the party’s
conduct; (3) whether the dismissed party Was Warned that failure to cooperate could lead to
dismissal; and (4) whether less drastic sanctions Were imposed or considered before dismissal was
ordered Mulbah v. Detroit Bd. of Educ., 261 F.3d 586, 589 (6th Cir. 2001). Prior notice to the party
that his failure to cooperate may result in dismissal is important to support the sanction. M
Consolidated Rail Cor_'p., 927 F.?.d 287, 288 (6th Cir. 1991) (per curiam).

ln this case, as outlined in the July 1 order, the Plaintiff has violated the directives of this

Court by failing to cooperate in arbitration ordered by the Court and by failing to respond to show

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cause orders. ln short, the Plaintiff is making no effort to prosecute this matter. Clearly, the
necessity of monitoring a case that the Plaintiff has dilatorin permitted to languish indefinitely
Works some hardship on the Defendant. ln addition, the Plaintiff has been advised in no uncertain
terms and on more than one occasion that failure to respond to the Court's directives will result in
dismissal of his claims. Finally, under the circumstances, the Court finds that no sanction short of
dismissal will cure the Plaintiffs failure to prosecute this matter.

Based on the foregoing, the Plaintiff‘s lawsuit is hereby DISMISSED with prejudice

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IT rs so oRDERED ihis?_t_ day OfJuiy, 2005.

jan

NIEL BREEN
Dl ED STATES DISTRIC DGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 27 in
case 2:04-CV-02292 was distributed by faX, mail, or direct printing on
July 22, 2005 to the parties listed.

sssEE

 

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Honorable .l. Breen
US DISTRICT COURT

